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     Attorneys for Plaintiffs
14
                                  UNITED STATES DISTRICT COURT
15                              NORTHERN DISTRICT OF CALIFORNIA
16
17    IN RE: ROUNDUP PRODUCTS LIABILITY            MDL No. 2741
      LITIGATION
18                                                 Case No. 16-md-02741-VC
19                                                 DECLARATION OF JEFFREY
      This document relates to:
                                                   TRAVERS IN SUPPORT OF
20                                                 PLAINTIFF’S RESPONSE TO
      Dickey v. Monsanto Co., 3:16-cv-04102-VC
      Domina v. Monsanto Co., 3:16-cv-05887-VC     MOTION TO EXCLUDE
21
      Giglio v. Monsanto Co., 3:16-cv-05658-VC     TESTIMONY OF DR. WILLIAM
22    Harris v. Monsanto Co., 3:17-cv-03199-VC     SAWYER ON DAUBERT
      I. Hernandez v. Monsanto, 3:16-cv-05750-VC   GROUNDS
23    Janzen v. Monsanto Co., 3:19-cv-04103-VC
      Mendoza v. Monsanto Co., 3:19-cv-06046-VC
24    Perkins v. Monsanto Co., 3:16-cv-06025-VC
      Pollard v. Monsanto Co., 3:19-cv-04100-VC
25    Russo v. Monsanto Co., 3:16-cv-06024-VC
      Sanders v. Monsanto Co., 3:16-cv-05752-VC
26    Tanner v. Monsanto Co., 3:19-cv-04099-VC
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     ________________________________________________________________
        DECLARATION OF JEFFREY TRAVERS IN SUPPORT OF PLAINTIFFS’RESPONSE TO
                   MOTION TO EXCLUDE TESTIMONY OF DR. SAWYER
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 3   DECLARATION OF JEFFREY TRAVERS IN SUPPORT OF PLAINTIFF’S RESPONSE
        TO MOTION TO EXCLUDE TESTIMONY OF DR. WILLIAM SAWYER ON
 4                          DAUBERT GROUNDS

 5                           DECLARATION OF JEFFREY A. TRAVERS

 6          I, Jeffrey Travers, declare and state:

 7          1.      I am an attorney at law admitted to practice before all of the courts in the state of

 8   Virginia. I am an attorney at The Miller Firm, LLC, attorneys of record for Plaintiffs. I am over

 9   eighteen years of age and am fully competent to make this Declaration in support. I have personal
10   knowledge of the facts stated in this declaration, and if called to testify, I could and would
11   competently testify to the matters stated herein.
12          2.      Attached hereto as Exhibit 1 is a true and correct copy of the Affidavit and C.V. of
13   Dr. William Sawyer Dated 12/10/2019
14          3.      Attached hereto as Exhibit 2 is a true and correct copy of Excerpts of Dr. Portier
15   and Dr. Sawyer’s Testimony from the Johnson v. Monsanto Trial.
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            4.      Attached hereto as Exhibit 3 is a true and correct copy of Dr. Sawyer’s testimony
17
     from the Pilliod v. Monsanto Trial.
18
            5.      Attached hereto as Exhibit 4 is a true and correct copy of Dr. Sawyer’s Report in
19
     Hernandez v. Monsanto.
20
            6.      Attached hereto as Exhibit 5 is a true and correct copy of a January 13, 2011
21
     Monsanto email produced by Monsanto in discovery
22
            7.      Attached hereto as Exhibit 6 is a true and correct copy of the Case Specific Expert
23
     designation in Giglio v. Monsanto
24
            8.      Attached hereto as Exhibit 7 is a true and correct copy of excerpts of Dr. Sawyer’s
25
     deposition in Wade v. Monsanto.
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            9.      Attached hereto as Exhibit 8 is a true and correct copy of excerpts of the Deposition
27
28   of Dr. William Sawyer, taken October 25, 2019, for Ines Hernandez v. Monsanto Company.


     ________________________________________________________________
       TRAVERS DECL. IN SUPPORT OF PLAINTIFFS’RESPONSE TO MOTION TO EXCLUDE
                              TESTIMONY OF DR. SAWYER
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            Case 3:16-md-02741-VC Document 8342-1 Filed 12/10/19 Page 3 of 4



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            10.     Attached hereto as Exhibit 9 is a true and correct copy of excerpts of the Deposition
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     of Dr. William Sawyer, taken September 15, 2019, for Giglio v. Monsanto Company.
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            11.     Attached hereto as Exhibit 10 is a true and correct copy of excerpts of Dr. Sawyer’s
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     Report in Johnson v. Monsanto.
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            12.     Attached hereto as Exhibit 11 is a true and correct copy of Dr. Joel Cohen’s Expert
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     Report in Hernandez v. Monsanto.
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            13.     Attached hereto as Exhibit 12 is a true and correct copy of MONGLY01075506
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     produced by Monsanto in discovery.
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            14.     Attached hereto as Exhibit 13 is a true and correct copy of excerpts of Dr. Sawyer’s
10
     Deposition in Pilliod v. Monsanto.
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12          15.     Attached hereto as Exhibit 14 is a true and correct copy of MONGLY01839476

13   produced by Monsanto in discovery.

14          16.     Attached hereto as Exhibit 15 is a true and correct copy of excerpts of Dr. Sawyer’s

15   Deposition in Johnson v. Monsanto.

16          17.     Attached hereto as Exhibit 16 is a true and correct copy of excerpts of Dr. Sawyer’s

17   Deposition in Stevick v. Monsanto.
18          18.     Attached hereto as Exhibit 17 is a true and correct copy of a July 26, 2018
19   stipulation entered in the Johnson v. Monsanto trial.
20          19.     Attached hereto as Exhibit 18 is a true and correct copy of a declaration submitted
21   by Dr. Sawyer dated January 25, 2019 in support of his testimony in Stevick v. Monsanto.
22          20.     Attached hereto as Exhibit 19 is a true and correct copy of a March 20, 2015 article
23   in Lancet detailing IARC’s finding with respect to glyphosate
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            21.     Attached hereto as Exhibit 20 is a true and correct copy of the ATSDR’s draft
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     review of glyphosate.
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       TRAVERS DECL. IN SUPPORT OF PLAINTIFFS’RESPONSE TO MOTION TO EXCLUDE
                              TESTIMONY OF DR. SAWYER
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                                       By: /s/ Jeffrey A. Travers
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                                           Jeffrey A. Travers
 6
                                           Declarant
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      TRAVERS DECL. IN SUPPORT OF PLAINTIFFS’RESPONSE TO MOTION TO EXCLUDE
                             TESTIMONY OF DR. SAWYER
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